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                            IN​ ​THE​ ​UNITED​ ​STATES​ ​DISTRICT​ ​COURT
                         FOR​ ​THE​ ​WESTERN​ ​DISTRICT​ ​OF​ ​PENNSYLVANIA

 PATRICIA​ ​POLOKA,                                                )
              Plaintiff,                                           )
                                                                   )   Civil​ ​Action​ ​No.​ ​2:17-cv-00828-CB
          v.                                                       )
                                                                   )   Judge​ ​Cathy​ ​Bissoon
 CITY​ ​OF​ ​PITTSBURGH,                                           )
                 Defendant.                                        )

 DEFENDANT​ ​CITY​ ​OF​ ​PITTSBURGH’S​ ​ANSWER​ ​AND​ ​AFFIRMATIVE​ ​DEFENSES

         Defendant City of Pittsburgh respectfully submits the following Answer and Affirmative

Defenses​ ​to​ ​Plaintiff’s​ ​Complaint.

                                                    First​ ​Defense

                                                     Jurisdiction

         1.       The allegations contained in paragraph 1 of Plaintiff’s Complaint constitute

conclusions of law to which no response is required. To the extent they are deemed to state

factual​ ​allegations,​ ​they​ ​are​ ​specifically​ ​denied.

                                                         Venue

         2.       Upon information and belief, the venue allegations of paragraph 2 of the

Complaint​ ​are​ ​admitted.

                                           Administrative​ ​Exhaustion

         3.       The allegations in paragraph 3 of the Complaint constitute conclusions of law to

which no response is required. To the extent they are deemed to state factual allegations, they are

specifically​ ​denied.




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                                                        Parties

         4.       Upon information and belief, Defendant admits the allegations in paragraph 4 of

Plaintiff’s​ ​Complaint.

         5.       Upon information and belief, Defendant admits the allegations in paragraph 5 of

Plaintiff’s​ ​Complaint.

         6.       The allegations contained in paragraph 6 of Plaintiff’s Complaint constitute

conclusions of law to which no response is required. To the extent they are deemed to state

factual​ ​allegations,​ ​they​ ​are​ ​specifically​ ​denied.

         7.       The allegations contained in paragraph 7 of Plaintiff’s Complaint constitute

conclusions of law to which no response is required. To the extent they are deemed to state

factual​ ​allegations,​ ​they​ ​are​ ​specifically​ ​denied.

                                               Factual​ ​Background

         8.       Upon information and belief, Defendant admits the allegations contained in

paragraph 8​ ​of​ ​Plaintiff’s​ ​Complaint.

         9.       The​ ​allegations​ ​of​ ​paragraph​ ​9​ ​of​ ​Plaintiff’s​ ​Complaint​ ​are​ ​admitted.

         10.      Defendant admits the allegations in paragraph 10 of Plaintiff’s Complaint that she

was​ ​promoted​ ​to​ ​Master​ ​Police​ ​Officer​ ​in​ ​October​ ​2015.

         11.      Upon​ ​information​ ​and​ ​belief,​ ​admitted.

         12.      Upon​ ​information​ ​and​ ​belief,​ ​Defendants​ ​admitted.

         13.      Upon information and belief, Defendants admit the allegations contained in

paragraph 13 of Plaintiff’s Complaint. By way of further response, Plaintiff’s ex-husband



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worked for the City of Pittsburgh as a police officer for approximately three years and was

subsequently employed by the Allegheny County Police. Upon information and belief, the PFA

Order​ ​was​ ​resolved​ ​in​ ​February​ ​2012​ ​through​ ​a​ ​consent​ ​order.

          14.       Upon information and belief, it is admitted that after the PFA was issued, Plaintiff

spoke​ ​to​ ​the​ ​Commander​ ​of​ ​Zone​ ​1​ ​RaShall​ ​Brackney.

          15.       The​ ​allegations​ ​in​ ​paragraph​ ​15​ ​of​ ​Plaintiff’s​ ​Complaint​ ​are​ ​denied.

          16.       Upon​ ​information​ ​and​ ​belief,​ ​admitted.

          17.       Defendant lacks sufficient knowledge or information to form a belief about the

truth of the allegations in this paragraph of the Complaint. By way of further response,

Defendant has had the right to transfer and reassign Plaintiff like any other police officer

pursuant to the Collective Bargaining Agreement (CBA) that her labor union negotiated and

executed on her behalf. The CBA provides Plaintiff a right to grieve a transfer or reassignment

she disagreed with or denial of a request for a transfer or days off that she thought she was

entitled to then. Defendant is unaware that Plaintiff attempted to exercise her contractual

grievance​ ​rights​ ​about​ ​the​ ​transfer​ ​or​ ​reassignment.

          18.       Defendant lacks sufficient knowledge or information to form a belief about the

truth​ ​of​ ​the​ ​allegations​ ​in​ ​this​ ​paragraph​ ​of​ ​the​ ​Complaint.

          19.       Defendant lacks sufficient knowledge or information to form a belief about the

truth​ ​of​ ​the​ ​allegations​ ​in​ ​this​ ​paragraph​ ​of​ ​the​ ​Complaint.

          20.       Denied.




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          21.       Defendant lacks sufficient knowledge or information to form a belief about the

truth​ ​of​ ​the​ ​allegations​ ​in​ ​this​ ​paragraph​ ​of​ ​the​ ​Complaint.

          22.       Denied as stated. Upon information and belief, McDonald was not happy with the

work Plaintiff was doing as CIT Coordinator because Plaintiff had contrary to instructions

exceeded the intended scope of the position, meant to be a part-time administrative coordinator

job.

          23.       Denied.

          24.       Denied as stated. It is denied that Defendant treated Plaintiff differently from any

similarly​ ​situated​ ​male​ ​police​ ​officers.

          25.       Defendant lacks sufficient knowledge or information to form a belief about the

truth​ ​of​ ​the​ ​allegations​ ​in​ ​this​ ​paragraph​ ​of​ ​the​ ​Complaint.

          26.       Denied.

          27.       Defendant lacks sufficient knowledge or information to form a belief about the

truth​ ​of​ ​the​ ​allegations​ ​in​ ​this​ ​paragraph​ ​of​ ​the​ ​Complaint.

          28.       Upon​ ​information​ ​and​ ​belief,​ ​admitted.

          29.       Upon information and belief, admitted that on or about April 11, 2012, Plaintiff

resumed duties as CIT coordinator. By way of further response, upon information and belief this

CIT position was a time-limited and grant-funded position in conjunction with the Allegheny

County​ ​Police.

          30.       Denied as stated. It is admitted that one issue with Plaintiff’s performance was a

perceived​ ​need​ ​for​ ​more​ ​supervision​ ​for​ ​her​ ​to​ ​perform​ ​her​ ​job​ ​in​ ​an​ ​acceptable​ ​manner.



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          31.       Defendant lacks sufficient knowledge or information to form a belief about the

truth​ ​of​ ​the​ ​allegations​ ​in​ ​this​ ​paragraph​ ​of​ ​the​ ​Complaint.

          32.       Denied as stated. Upon information and belief, in April 2012 a child custody

misunderstanding resulted in a police report being filed by the reporting officer, Sgt. Louis

Caporali. Subsequent to this incident, Sgt. Caporali filed a Disciplinary Action Report (DAR)

based upon Plaintiff’s behavior during the child custody dispute. The DAR cited violations of

two Police Bureau Rules and Regulations, Standards of Conduct – Conduct Unbecoming a

Member​ ​or​ ​Employee​ ​and​ ​Conduct​ ​Towards​ ​Superior​ ​Officers​ ​and​ ​Other​ ​Employees.

          33.       Denied as stated. However, as the DAR made its way up the Chain of Command,

it was found that Sgt. Caporali had not completed all the necessary steps and procedures

pertaining​ ​to​ ​the​ ​dissemination​ ​of​ ​the​ ​DAR.​ ​ ​Consequently​ ​the​ ​DAR​ ​was​ ​put​ ​on​ ​hold.

          34.       Admitted.

          35.       Denied.

          36.       Denied.

          37.       Denied​ ​as​ ​stated.​ ​It​ ​is​ ​admitted​ ​that​ ​Defendant​ ​gave​ ​Plaintiff​ ​verbal​ ​counseling.

          38.       Denied. Defendant’s discipline policy provides for an oral warning as the first

level​ ​of​ ​discipline.

          39.       Upon​ ​information​ ​and​ ​belief,​ ​admitted.

          40.       Upon​ ​information​ ​and​ ​belief,​ ​admitted.

          41.       Denied as stated. Ford was often though not always involved in such transfer

decisions. By way of further response, Defendant had a right to transfer and reassign Plaintiff



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like any other police officer pursuant to the Collective Bargaining Agreement that her labor

union negotiated and executed on her behalf. The CBA provides Plaintiff a right to grieve a

transfer or reassignment she disagreed with or denial of a request for transfer. Upon information

and belief, Plaintiff never attempted to exercise her contractual grievance rights about allegedly

unsatisfactory​ ​transfer​ ​or​ ​reassignments.

          42.       It is denied that Defendant could not provide Plaintiff with a reason for the

transfer.​ ​It​ ​is​ ​admitted​ ​that​ ​Defendant​ ​subsequently​ ​noted​ ​a​ ​perceived​ ​need​ ​for​ ​supervision.

          43.       It is admitted that at a certain time, upon information and belief, Plaintiff was the

only full-time female firearms instructor. As for the remaining allegations, Defendant lacks

sufficient knowledge or information to form a belief about the truth of the remaining allegations

in​ ​this​ ​paragraph​ ​of​ ​the​ ​Complaint.

          44.       Defendant lacks sufficient knowledge or information to form a belief about the

truth​ ​of​ ​the​ ​allegations​ ​in​ ​this​ ​paragraph​ ​of​ ​the​ ​Complaint.

          45.       Denied.

          46.       Upon information and belief, admitted that in approximately September 2012,

Plaintiff​ ​was​ ​transferred​ ​to​ ​Zone​ ​5.

          47.       Admitted that Sippey was assigned to the training academy. Denied that he was a

less​ ​qualified​ ​replacement​ ​for​ ​Plaintiff.

          48.       Denied as stated. The physical conditions at the training academy were generally

poor​ ​but​ ​were​ ​gradually​ ​being​ ​improved​ ​at​ ​the​ ​time.

          49.       Denied.



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          50.       Defendant lacks sufficient knowledge or information to form a belief about the

truth​ ​of​ ​the​ ​allegations​ ​in​ ​this​ ​paragraph​ ​of​ ​the​ ​Complaint.

          51.       Denied as stated. It is admitted that Defendant had multiple grounds for

transferring​ ​Plaintiff,​ ​who​ ​upon​ ​information​ ​and​ ​belief,​ ​never​ ​attempted​ ​to​ ​file​ ​a​ ​grievance.

          52.       Defendant lacks sufficient knowledge or information to form a belief about the

truth of the allegations in this paragraph of the Complaint, as it is unclear what memo is being

cited.

          53.       Defendant lacks sufficient knowledge or information to form a belief about the

truth​ ​of​ ​the​ ​allegations​ ​in​ ​this​ ​paragraph​ ​of​ ​the​ ​Complaint.

          54.       Defendant lacks sufficient knowledge or information to form a belief about the

truth​ ​of​ ​the​ ​allegations​ ​in​ ​this​ ​paragraph​ ​of​ ​the​ ​Complaint.

          55.       Defendant lacks sufficient knowledge or information to form a belief about the

truth​ ​of​ ​the​ ​allegations​ ​in​ ​this​ ​paragraph​ ​of​ ​the​ ​Complaint.

          56.       Defendant lacks sufficient knowledge or information to form a belief about the

truth​ ​of​ ​the​ ​allegations​ ​in​ ​this​ ​paragraph​ ​of​ ​the​ ​Complaint.

          57.       Defendant lacks sufficient knowledge or information to form a belief about the

truth​ ​of​ ​the​ ​allegations​ ​in​ ​this​ ​paragraph​ ​of​ ​the​ ​Complaint.

          58.       Denied as stated. It is admitted that Davis took over CIT coordinator duties from

Plaintiff.​ ​Denied​ ​that​ ​Davis​ ​was​ ​less​ ​qualified.

          59.       Defendant lacks sufficient knowledge or information to form a belief about the

truth​ ​of​ ​the​ ​allegations​ ​in​ ​this​ ​paragraph​ ​of​ ​the​ ​Complaint.



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          60.        Defendant lacks sufficient knowledge or information to form a belief about the

truth​ ​of​ ​the​ ​allegations​ ​in​ ​this​ ​paragraph​ ​of​ ​the​ ​Complaint.

          61.        Defendant lacks sufficient knowledge or information to form a belief about the

truth​ ​of​ ​the​ ​allegations​ ​in​ ​this​ ​paragraph​ ​of​ ​the​ ​Complaint.

          62.        Defendant lacks sufficient knowledge or information to form a belief about the

truth​ ​of​ ​the​ ​allegations​ ​in​ ​this​ ​paragraph​ ​of​ ​the​ ​Complaint.

          63.        Defendant lacks sufficient knowledge or information to form a belief about the

truth​ ​of​ ​the​ ​allegations​ ​in​ ​this​ ​paragraph​ ​of​ ​the​ ​Complaint.

          64.        Defendant lacks sufficient knowledge or information to form a belief about the

truth​ ​of​ ​the​ ​allegations​ ​in​ ​this​ ​paragraph​ ​of​ ​the​ ​Complaint.

                65. Admitted.

                                                               Count​ ​I​ ​—
                                                 Title​ ​VII​ ​-​ ​Sex​ ​Discrimination

          66.        Defendant incorporates by reference its answers to paragraphs 1 through 65 of the

Complaint​ ​as​ ​if​ ​set​ ​forth​ ​in​ ​full.

          67.        The allegations in paragraph 67 of Plaintiff’s Complaint constitute conclusions of

law to which no response is required. To the extent they are deemed to state factual allegations,

they​ ​are​ ​specifically​ ​denied.

          68.        The allegations in paragraph 68 of Plaintiff’s Complaint constitute conclusions of

law to which no response is required. To the extent they are deemed to state factual allegations,

they​ ​are​ ​specifically​ ​denied.




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          The unnumbered “WHEREFORE” clause following paragraph 68 of Plaintiff’s

Complaint contains Plaintiff’s prayer for relief and as such requires no response. To the extent a

response is required, those allegations are specifically denied. Defendant denies further that

Plaintiff​ ​is​ ​entitled,​ ​either​ ​legally​ ​or​ ​factually,​ ​to​ ​any​ ​of​ ​the​ ​relief​ ​sought​ ​in​ ​Plaintiff’s​ ​Complaint.

                                                          Count​ ​II​ ​—
                                                   Title​ ​VII​ ​-​ ​Retaliation

          69.        Defendant incorporates by reference its answers to paragraphs 1 through 68 of the

Complaint​ ​as​ ​if​ ​set​ ​forth​ ​in​ ​full.

          70.        The allegations in paragraph 70 of Plaintiff’s Complaint constitute conclusions of

law to which no response is required. To the extent they are deemed to state factual allegations,

they​ ​are​ ​specifically​ ​denied.

          71.        The allegations in paragraph 71 of Plaintiff’s Complaint constitute conclusions of

law to which no response is required. To the extent they are deemed to state factual allegations,

they​ ​are​ ​specifically​ ​denied.

          72.        The allegations in paragraph 72 of Plaintiff’s Complaint constitute conclusions of

law to which no response is required. To the extent they are deemed to state factual allegations,

they​ ​are​ ​specifically​ ​denied.

          73.        The allegations in paragraph 73 of Plaintiff’s Complaint constitute conclusions of

law to which no response is required. To the extent they are deemed to state factual allegations,

they​ ​are​ ​specifically​ ​denied.

          The unnumbered “WHEREFORE” clause following paragraph 73 of Plaintiff’s

Complaint contains Plaintiff’s prayer for relief and as such requires no response. To the extent a


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response is required, those allegations are specifically denied. Defendant denies further that

Plaintiff​ ​is​ ​entitled,​ ​either​ ​legally​ ​or​ ​factually,​ ​to​ ​any​ ​of​ ​the​ ​relief​ ​sought​ ​in​ ​Plaintiff’s​ ​Complaint.

                                                     Count​ ​III​ ​—​ ​PHRA

          74.        Defendant incorporates by reference its answers to paragraphs 1 through 73 of the

Complaint​ ​as​ ​if​ ​set​ ​forth​ ​in​ ​full.

          75.        The allegations in paragraph 75 of Plaintiff’s Complaint constitute conclusions of

law to which no response is required. To the extent they are deemed to state factual allegations,

they​ ​are​ ​specifically​ ​denied.

          76.        The allegations in paragraph 76 of Plaintiff’s Complaint constitute conclusions of

law to which no response is required. To the extent they are deemed to state factual allegations,

they​ ​are​ ​specifically​ ​denied.

          The unnumbered “WHEREFORE” clause following paragraph 73 of Plaintiff’s

Complaint contains Plaintiff’s prayer for relief and as such requires no response. To the extent a

response is required, those allegations are specifically denied. Defendant denies further that

Plaintiff​ ​is​ ​entitled,​ ​either​ ​legally​ ​or​ ​factually,​ ​to​ ​any​ ​of​ ​the​ ​relief​ ​sought​ ​in​ ​Plaintiff’s​ ​Complaint.

          Defendants​ ​denies​ ​any​ ​and​ ​all​ ​allegations​ ​of​ ​fact​ ​not​ ​expressly​ ​admitted​ ​in​ ​this​ ​Answer.

                                                   SECOND​ ​DEFENSE

          The​ ​Court​ ​lacks​ ​subject-matter​ ​jurisdiction.

                                                     THIRD​ ​DEFENSE

          Plaintiff​ ​fails​ ​to​ ​state​ ​a​ ​claim​ ​upon​ ​which​ ​relief​ ​can​ ​be​ ​granted.

                                                   FOURTH​ ​DEFENSE



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          Plaintiff​ ​is​ ​not​ ​entitled​ ​to​ ​punitive​ ​damages.

                                                    FIFTH​ ​DEFENSE

          Plaintiff’s​ ​claims​ ​are​ ​barred​ ​by​ ​the​ ​applicable​ ​statute​ ​of​ ​limitations.

                                                    SIXTH​ ​DEFENSE

          Plaintiff​ ​has​ ​failed​ ​to​ ​mitigate​ ​any​ ​alleged​ ​damages​ ​and​ ​is​ ​therefore​ ​barred​ ​from​ ​recovery.

                                                 SEVENTH​ ​DEFENSE

          Plaintiff’s claims are barred, in whole or in part, insofar as Defendant was not the

proximate​ ​cause​ ​of​ ​any​ ​alleged​ ​injury​ ​or​ ​damage​ ​incurred​ ​by​ ​Plaintiff.

                                                  EIGHTH​ ​DEFENSE

          Plaintiff’s own actions and/or failure to act were the direct and proximate cause of the

alleged​ ​injuries​ ​and​ ​damages.

                                                    NINTH​ ​DEFENSE

          Plaintiff failed to exhaust administrative remedies and/or institute this proceeding within

the​ ​applicable​ ​statutory​ ​period.

                                                        TENTH​ ​DEFENSE

          Plaintiff has failed to identify comparably situated male employees who were received

more​ ​favorable​ ​treatment.

                                                             *​ ​*​ ​*​ ​*

          WHEREFORE, Defendant respectfully requests that the Complaint be dismissed with

prejudice, that judgment be entered in its favor, that it be awarded attorneys’ fees and costs, and

such​ ​other​ ​and​ ​further​ ​relief​ ​as​ ​the​ ​Court​ ​deems​ ​appropriate​ ​in​ ​this​ ​action.



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A​ ​jury​ ​trial​ ​is​ ​demanded.

                                    Respectfully​ ​submitted,

                                    LOURDES​ ​SÁNCHEZ​ ​RIDGE
                                    ​ ​ ​City​ ​Solicitor

                                    s/​ ​Matthew​ ​S.​ ​McHale,​ ​Esq.
                                    Matthew​ ​S.​ ​McHale,​ ​Esq.​ ​(Pa.​ ​ID​ ​No.​ ​91880)
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